
718 S.E.2d 377 (2011)
Ralph ASHLEY, Jean Ashley, Alexander Augoustides, Carolyn Auman, Luther T. Barber, Sylvia Barber, D.H. Beam, Jay Belk, Pam Belk, Anthony J. Bolo, Jr., Marion J. Bonnom, Keith Bost, Sherry Bost, Ricky Boyd, Michael P. Bralkowski, Rhonda W. Bralkowski, Jim Buchanan, Betsy Buchanan, Peggy Burchett, Jerry Burkhart, Jeri Burkhart, Bobby Byerly, Patsy Byerly, Jim Cameron, Betsy Cameron, Brad Cates, Jodi Cates, Cary Cooper, Amanda Cooper, William H. Cox, Dennis Jeffrey Cooper, *378 Naoma Wagner Crabtree, Trustee, Shirley E. Crotts, Larry H. Crotts, Perry K. Crotts, Henry C. Crouse, Karen Crouse, Dan R. Daughety, Susan G. Daughety, Judith M. Davis, Bobby N. Dickerson, Ellen F. Dickerson, Ed Drozd, Nancy Drozd, Ronald Durham, Denise Durham, David Nathaniel Durrell, Meladie Durrell, Ricky Everhart, Danny Everhart, Melissa Everhart, Lisa Everhart, Ted G. Everhart, Bettie H. Everhart, John Evers, Gail Evers, Robert G. Floyd, Emma R. Floyd, John Frank, Trudy Frank, Jimmy Freeman, Lynne Freemann, Edward Friedmann, Bertha Friedmann, Carl Garrison, Robert Greer, Janice Greer, Thomas O. Grubbs, Jr., Tony Hartley, Nancy Hartley, Charles Hartsook, Ruth Hartsook, Michael V. Higgins, Patricia A. Higgins, Ricky L. Hill, Deborah Y. Hill, Gig Hilton, Susan Hilton, Jerry Hunt, Martha Hunt, R. Frank Hunter, Margaret Hunter, Craig Idol, Gina Idol, Robert D. Ketchie, Faye B. Ketchie, Sandra Knapp, Patrick Knapp, Connie Mason Laughter, Clinton LeGette, Mary Lou LeGette, Lloyd Leonard, Kim Leonard, Phil Lohr, Milton R. Lomas, Randall J. Long, Betty L. Mason, Paul Martin, Wanda Martin, Jerry Mayes, Vicki Mayes, Phillip McKinney, Beverly McKinney, Betty C. Michael, Roy Steven Michael, Johnny Morgan, Paulette Morgan, Mike Morgan, Ruffin Morgan, Kenneth D. Motley, Don Myers, Judy Myers, Jan Myers, Tonya Myers, Matt O'Bryant, Michelle O'Bryant, Ann R. Parker, Tim Palmer, Shirley Parks, Steven Parks, Glenda Parks, Watts B. Parrish, Larry Kiger Pope, Jr., Gay Pleasants, Richard G. Reese, Betty Reese, Leon L. Rives, II, Catherine N. Robertson, Rafael Roca, T. Saintsing, Sandra Saintsing, Marvin Sandifer, Carole P. Sandifer, Elsie Saul, Glenn A. Scott, Cynthia S. Scott, Rick Smith, Rick Smith, Gwinnie Smith, Steven Smith, Laura Smith, Veronica Sroka, Lynn Stewart, Jane Stewart, Jackie Shoaf, Jerry Shoaf, Carol Stott, David Stott, Tony Townsend, Carolyn J. Townsend, William F. Tucker, Betty S. Tucker, Brian Turlington, Jennifer Turlington, Willie Vauter, Vonceil Vauter, Jone G. Walden, Curtis Jae Walden, Kathy D. Wall, Doug Walser, Mary Walser, Gary G. Wikstrom, Buster B. Willis, Brenda P. Willis, Ben Wilson, Shelly Wilson, Walter L. Wilson, Ed Workman, Anita Workman, Joe T. Yarbrough, Faye Young, Louise W. Young
v.
The CITY OF LEXINGTON, a North Carolina Municipality.
Elaine S. Alexander, Linda Beck, Misty Clodfelter, Judi L. Cochran, Louis C. Coleman, Louise S. Coleman, Ruby Louise Cross, William Cross, Loretta Crotts, Shell Crotts, Marty F. Curry, Greg D. Dyson, Mark Evans, Janet Everhart, Lorraine H. Furr, Lorraine H. Furr, Richard E. Furr, Roy Lee Gates, Barbara Gates, Gary Gobble, Karen Gobble, Greta W. Hamm, John Charles Hamm, Betty B. Honbaier, Terry Hughes, Allison M. Keene, Carolyn Loman, Thamar Darrell Loman, Helen Kivett, Carolyn S. McCarn, Johnny N. McCarn, Leroy McCarn, Ruby McCarn, Deborah Medlin, Paul Medlin, Carlton E. Mobey, Billy Ray Pleasant, Harvey Potter, Victor Smith, Paul R. Stogner, Sarah Stogner, Vera F. Walden, Doris R. Walser, Sandra H. Walker, Shirley F. Weaver, Jeffrey K. White, Elwood Younts, Naomi R. Younts
v.
The City of Lexington, a North Carolina Municipality.
Soy Houn, Susan Long, Melida Suzy Melgar, Bobby D. Walser
v.
The City of Lexington, a North Carolina Municipality.
No. 54P11.
Supreme Court of North Carolina.
October 6, 2011.
Robert E. Hornik, Jr., Chapel Hill, for Ashley, Ralph, et al.
*379 Benjamin R. Sullivan, Charlotte, Phyllis S. Penry, Lexington, for The City of Lexington.

ORDER
Upon consideration of the petition filed on the 7th of February 2011 by Petitioner-Appellants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
